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 5
 6                            UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                 )                 Case No.: 2:18-cr-00166-TLN
 9   UNITED STATES OF AMERICA,   )
                                 )                 STIPULATION AND ORDER TO
10            Plaintiff,         )                 CONTINUE STATUS CONFERENCE
                                 )
11       vs.                     )                 Date: December 11, 2019
     ALEXANDER FRANCO GUTIERREZ, )                 Time: 9:30 a.m.
12                               )                 Judge: Hon. Troy L. Nunley
     EDUARDO CARTAGENA, and      )
13   OLDAIM LOPES,               )
                                 )
14            Defendants.        )
15
                                            STIPULATION
16
           The United States of America through its undersigned counsel, Christina McCall,
17
     Assistant United States Attorney, together with Thomas A. Johnson, counsel for
18
     defendant, Alexander Franco Gutierrez, hereby stipulate the following:
19
        1. The Status Conference was previously set for December 11, 2019. By this
20
           stipulation, the parties now move to continue the Status Conference to February
21
           13, 2020, at 9:30 a.m. and to exclude time between December 11, 2019, and
22
           February 13, 2020 under the Local Code T-4 (to allow defense counsel time to
23
           prepare).
24
        2. The parties agree and stipulate, and request the Court find the following:
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           a. A continuance is requested because counsel for the defendant needs additional
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               time to review the discovery, conduct investigation, and discuss a potential
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               resolution.
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 1        b. Counsel for defendant believes the failure to grant a continuance in this case
 2            would deny defense counsel reasonable time necessary for effective
 3            preparation, taking into account the exercise of due diligence.
 4        c. The Government does not object to the continuance.
 5        d. Based on the above-stated findings, the ends of justice served by granting the
 6            requested continuance outweigh the best interests of the public and the
 7            defendants in a speedy trial within the original date prescribed by the Speedy
 8            Trial Act.
 9        e. For the purpose of computing time under the Speedy Trial Act, 18 United
10            States Code Section 3161(h)(7)(A) within which trial must commence, the
11            time period of December 11, 2019, to February 13, 2020, inclusive, is deemed
12            excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
13            (B)(iv), corresponding to Local Code T-4 because it results from a continuance
14            granted by the Court at defendant’s request on the basis of the Court’s finding
15            that the ends of justice served by taking such action outweigh the best interest
16            of the public and the defendant in a speedy trial.
17     3. Nothing in this stipulation and order shall preclude a finding that other provisions
18        of the Speedy Trial Act dictate that additional time periods are excludable from
19        the period within which a trial must commence.
20
21        IT IS SO STIPULATED.
22
     DATE: December 4, 2019
23                                                   /s/ Thomas A. Johnson
                                                     THOMAS A. JOHNSON
24                                                   Attorney for Alexander Franco Gutierrez
25   DATED: December 4, 2019
26                                                   /s/ Christina McCall
                                                     CHRISTINA McCALL
27                                                   Assistant U.S. Attorney
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 1                                             ORDER
 2          The Court has read and considered the Stipulation Regarding Excludable Time
 3   Period Pursuant to Speedy Trial Act, filed by the parties in this matter. The Court hereby
 4   finds that the Stipulation, which this Court incorporates by reference into this Order,
 5   demonstrates facts that provide good cause for a finding of excludable time pursuant to
 6   the Speedy Trial Act, 18 U.S.C. § 3161.
 7          The Court further finds that: (i) the ends of justice served by the continuance
 8   outweigh the best interest of the public and defendant in a speedy trial; and (ii) failure to
 9   grant the continuance would deny defense counsel the reasonable time necessary for
10   effective preparation, taking into account the exercise of due diligence.
11          Nothing in this Order shall preclude a finding that other provisions of the Speedy
12   Trial Act dictate that additional time periods are excluded from the period within which
13   trial must commence.
14
15          IT IS SO ORDERED.
16
17   Dated: December 4, 2019
                                                                 Troy L. Nunley
18                                                               United States District Judge
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                            STIPULATION AND ORDER                      -3-
